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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

DR. CHRISTOPHER FROST                                                                 PLAINTIFF

v.                                                      CIVIL ACTION NO. 3:19-CV-227-CRS

UNIVERSITY OF LOUISVILLE, ET AL.                                                   DEFENDANTS


                                  MEMORANDUM OPINION
                                       I. INTRODUCTION
       This matter is before the Court upon Plaintiff Dr. Christopher Frost’s Amended Motion for

Preliminary Injunction and Permanent Injunction. DN 21. Defendants have responded (DN 22),

and Plaintiff has replied (DN 24). This matter is now ripe for adjudication. For the reasons that

follow, Frost’s motion for preliminary injunction and permanent injunction will be GRANTED

IN PART and DENIED IN PART.

                                        II. BACKGROUND

       This litigation arises out of the termination of Plaintiff Dr. Christopher Frost from his

tenure-track appointment as an Assistant Professor of Biology at the University of Louisville.

Frost filed this action on March 27, 2019, pursuant to 42 U.S.C. § 1983. Frost seeks a preliminary

injunction restoring him to his tenure-track appointment asserting that Defendants deprived him

of protectable property and liberty interests without due process of law under 42 U.S.C. § 1983.

       The parties jointly filed a stipulation of facts (DN 19) and the relevant facts are undisputed.

The Court adopts the stipulation and reproduces it below as presented by the parties:

        1.      On March 13, 2015, the University of Louisville (“U of L”) offered Dr.

 Christopher Frost a probationary, tenure-track appointment as an Assistant Professor of Biology

 in the College of Arts and Sciences. Dr. Frost accepted the offer. A true and accurate copy of
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the March 13, 2015 offer letter is attached as Exhibit 4 to the Amended Complaint.

       2.       The March 13, 2015 offer letter stated that, “the conditions governing

employment at the University of Louisville are contained in the University’s governance

document, the Redbook.”

       3.       The March 13, 2015 offer letter further provided that:

                Your review for tenure will be no later than academic year 2020-
                2021, with tenure to be effective July 1, 2022. If your review
                during academic year 2020-2021 results in a decision not to grant
                tenure, your appointment for 2021-2022 would be terminal.
                Termination of your appointment prior to that time would be
                subject to the provisions of the Redbook. The policies and
                procedures for all personnel reviews are specified in the Redbook
                and the College of Arts and Sciences Personnel Policy and
                Procedures.

       4.       Over the course of his three-year tenure at the University, Dr. Frost has

supervised the work of graduate and undergraduate students. Dr. Frost supervised the laboratory

research, article-writing and other post-graduate work of three graduate students, one post-

doctoral scientist and eight undergraduate students, all of whom work in the laboratory created

by Dr. Frost.

       5.       In 2017, the National Science Foundation awarded Dr. Frost in excess of

$700,000 for use in his on-going research (the “Grant”).

       6.       On July 7, 2018, Dr. Frost hosted a potluck at his home. He invited those students

who worked in his lab. He also included his accuser, Jane Doe, in the invitation. Doe is a student

in the Biology Department at the University of Louisville. Defendants Ernst and Schroeder

concluded that Doe was under the age of 21 at the time of the July 7, 2018 potluck. Defendants

Ernst and Schroeder made no finding respecting whether Dr. Frost knew Doe was under 21 at

the time of the potluck.

       7.       Dr. Frost bought a six-pack of beer for himself for the July 7, 2018 event. The

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invitees were permitted to bring alcohol to the event; that is, it was BYOB. Doe alleged that Dr.

Frost offered her a beer but that she turned it down because she already had one. Dr. Frost

disputes the allegation that he offered Doe a beer. He agrees that Doe was drinking beer at the

potluck. Defendants Ernst and Schroeder “were unable to confirm Dr. Frost offered [a beer] to

Ms. [Doe].” Case Summary Report at 5.

       8.      Doe indicated that she wanted to stay after the other potluck attendees left. Dr.

Frost and Doe continued talking in the living room. While the parties were not able to reach a

stipulation as to the events leading up to Doe’s consumption of bourbon, they agree that Doe

drank some bourbon at Dr. Frost’s home. The parties also agree that Defendants Ernst and

Schroeder “were unable to confirm that Dr. Frost poured bourbon in a glass for Ms. [Doe].” Case

Summary Report at 5.

       9.      Afterward, Doe became ill, and while she was vomiting into a toilet, Dr. Frost

held her hair back and rubbed the top of her back. Defendants Ernst and Schroeder “confirmed

Dr. Frost placed his hands on Ms. [Doe]’s upper back and her hair.” Case Summary Report at 6.

       10.     On November 5, 2018, Doe brought a complaint alleging harassment based on

gender/sex against Dr. Frost. Ms. Doe lodged her complaint with the University’s Employee

Relations Department. Defendants Laura Schroeder and Donna Ernst interviewed Ms. Doe on

November 5, 2018 as a part of their fact finding pursuant to the U of L’s sexual harassment

policy (Personnel Policy 1.02).

       11.     On November 6, 2018, Dr. Frost received this e-mail message from Defendant

Laura Schroeder (f/k/a Laura Carter):

               On November 5, 2018, Human Resources received a complaint
               from [Jane Doe] alleging harassment based on gender/sex. The
               complaint names you as a respondent.



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                The University takes complaints of this nature very seriously. Our
                office has initiated an investigation in accordance with University
                policy and procedures. An investigation is generally completed
                within sixty (60) business days of receipt of the complaint; you
                will be notified if additional time is necessary. Upon the
                conclusion of the investigation you will receive a copy of our
                findings.

                The same laws that prohibit discrimination and harassment also
                prohibit retaliation against individuals who oppose unlawful
                discrimination or participate in an employment discrimination
                proceeding. The University will investigate any reported
                retaliation any person who is party to a complaint process under
                these guidelines that are consistent with University policies and
                procedures and the law.

                Our office will contact you to schedule an appointment and further
                discuss the allegations in the complaint. If you have any questions
                regarding this matter, please do not hesitate to contact me.

                Thank you,

                Laura Carter
                EEO – Employee Relations Specialist
                Human Resources . . . .

       12.      On November 6, 2018, Dr. Frost sent this email to Defendant Schroeder (f/k/a

Carter): “Dear Laura Carter, I would like to be informed of the specifics of the complaint. Thank

you, Dr. Frost.”

       13.     On November 7, 2018, Ms. Carter, now Schroeder, sent this email to Dr. Frost:

             Good Afternoon Dr. Frost,

             The harassment complaint based on gender/sex contained the following allegations:

                      • You hosted a potluck at your house in the summer in which students
                        were invited;
                      • Alcohol was served; and
                      • Inappropriate touching occurred.

             We will further discuss these allegations when we meet and you will have an
             opportunity to respond and ask questions. This is a fact finding meeting, not a formal
             hearing.


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       14.     The Sexual Harassment Policy (Personnel Policy 1.02) sets forth the process for

investigating and resolving complaints made pursuant to the Sexual Harassment Policy.

       15.     The Redbook applies to all faculty and staff members employed at the

University.

       16.     Defendants Ernst and Schroeder interviewed six witnesses as a part of their fact

finding investigation. Two had attended the potluck. Four had not attended the potluck. The

identities of those students whom Ernst and Schroeder selected for interviews were not disclosed

to Dr. Frost in advance of or during his interview. None of the specific statements made by his

accuser or any other interviewee was disclosed to Dr. Frost in advance of or during his interview.

       17.     Dr. Frost was interviewed by the University’s Employee Relations and

Compliance Office on December 5, 2018. Dr. Frost provided Ernst and Schroeder with a copy

of Doe’s post-complaint effort to follow him through ResearchGate, a social media website.

       18.     Dr. Frost was not given the opportunity to question or cross-examine Jane Doe

or anyone else whom Defendant Ernst and Defendant Schroeder interviewed.

       19.     On January 14, 2019, Defendants Ernst and Schroeder disclosed their findings,

whom they selected to interview, statements which they obtained and selected for inclusion in

the report, and the conclusion they drew that Dr. Frost had violated the U of L’s sexual

harassment policy. Those findings and conclusions are contained in a “Case Summary Report.”

Defendants Ernst and Schroeder emailed the report to Dr. Frost, Dean Kimberly Kempf-

Leonard, Provost Beth Boehm, and Chief Human Resources Officer John Elliott. They also e-

mailed their report to Dr. Frost’s accuser, Jane Doe. A true and accurate copy, redacted only to

prevent disclosure of student names, of the Case Summary Report is attached as Exhibit A.

       20.     The pertinent U of L sexual harassment policy is Personal Policy 1.02 (“Per

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102”). It sets out the process for an internal investigation of sexual harassment claims at the

University. Dr. Frost’s accuser filed a formal complaint. Defendants Ernst and Schroeder

followed the steps in the process for formal complaint resolutions as set out in Per. 102, Section

VII, with respect to Jane Doe’s formal complaint. A true and accurate copy of Section VIII of

Per. 102 is attached to the Amended Complaint as Exhibit 1.

       21.     Section VIII (1) provides:

                   Upon completion of the investigation, a Case Summary Report will
                   be completed documenting the scope of the investigation and
                   resulting in a factual determination as to whether the evidence
                   supports the allegation(s) of the complaint. These confidential
                   findings will be submitted to the appropriate administrator(s) to
                   render any disciplinary action (as appropriate) that is deemed
                   necessary. In cases that involve faculty members a copy of these
                   findings will be submitted to the University Provost. The
                   Complainant as well as the Respondent will receive a copy of the
                   findings.

       22.     Section VII (2), Reconsideration of the Determination, provides:

                   If the investigation results in a factual determination that the evidence
                   supports the allegation(s) of the complaint (a “cause” finding) then,
                   upon request, the Employee Relations and Compliance Office may,
                   for reasonable cause, reconsider the determination.

                   The decision rendered upon completion of the investigative process
                   in the Case Summary Report is not subject to the appeal process. For
                   reconsideration, a written request should be submitted to the
                   Employee Relations and Compliance Office accompanied by
                   affidavits or other written documentation that would substantially
                   alter the findings of the investigation.

       23.     On January 15, 2019, Dr. Frost notified Defendant Schroeder and Defendant

Kempf-Leonard that he intended to seek reconsideration Dr. Frost also asked for clarifications

of the process going forward, including whether a deadline for reconsideration existed by

sending the following email:

               Ms. Schroeder:


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             This e-mail is to let you know that I intend to seek reconsideration of the
             findings and conclusions reached that are contained in the summary. I am
             unclear as to the process for doing so. Do I submit that request to you or
             to someone else and if to someone else, to whom? Is there a deadline with
             which I must comply? As well, can you explain if any process outlined in
             the Redbook has been triggered by the report? I don’t understand because
             it seems I am not allowed “to appeal” but it also says that the proceedings
             outlined in the Redbook apply. A general explanation of the process going
             forward would also be appreciated.

             Thank you for your attention to these questions,
             Dr. Frost

      24.    Defendant Schroeder responded:

             Good Afternoon Dr. Frost,

             PER 1.02 – Sexual Harassment, If the investigation results in a factual
             determination that the evidence supports the allegation(s) of the
             complaint (a “cause” finding) then, upon request, the Employee
             Relations and Compliance Office may, for reasonable cause, reconsider
             the determination. The decision rendered upon completion of the
             investigative process in the Case Summary Report is not subject to the
             appeal process. For reconsideration, a written request should be
             submitted to the Employee Relations and Compliance Office
             accompanied by affidavits or other written documentation that would
             substantially alter the findings of the investigation.


             You may submit your documentation to emrelate@louisville.edu. Per the
             policy, there is no stated deadline for submitting your documentation.

             Please contact Tracy Eells in Faculty Affairs regarding your questions
             about the Redbook.

             Please let me know if you have any additional questions.

             Thank you,

             Laura Schroeder

      (emphasis in original).

      25.    On January 18, 2019, Dr. Frost sought clarification from Dr. Eells:

              Dr. Eells:

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                      I have been advised by Laura Schroeder to contact you with
            respect to an internal investigation pertaining to an allegations and a
            conclusion that I have violated the University’s sexual harassment
            policy. I am seeking a reconsideration of the adverse finding/report for
            several reasons, including, among others, that the process of the
            investigation was entirely and fundamentally unfair. Now, HR has
            refused to explain to me how the process works going forward. When I
            asked for an explanation, I essentially received a cut-and-paste of the
            language of the policy, which is the problem as the policy is not clear. I
            have attached the email exchange I had on this topic. I do now
            understand from the attached email that I am not operating under any
            deadline with respect to reconsideration of the report generated by
            HR. However, Ms. Schroeder either could not or would not explain to me
            if, how or when the provisions of the Redbook come into play with respect
            to the report generated by HR. Instead, she said I needed to ask you.

                       So I ask that you please tell me if there are any steps required of
            me at this juncture with respect to the filing of any sort of grievance or
            notice pursuant to the Redbook. It is not clear to me upon reading the
            Redbook what if anything I am required to do while pursuing
            reconsideration. I certainly have every intention of complying with
            University procedures, but need help understanding when I may need to
            proceed under the Redbook. The HR policy appears to be self-
            contradictory. On the one hand, it says I can’t appeal and on the other it
            says that the Redbook applies. If I need to file a grievance or some sort of
            notice at this juncture, please advise me of that need and any deadline and
            I will promptly comply. While I anticipate that there is no need for a
            grievance or notice at this point because there has been no final decision
            and I am seeking reconsideration, I am sure you can appreciate my
            concern for ensuring that I am correct about that and that going forward I
            do what is required of me by U of L’s policies and procedures pursuant
            to the Redbook. I will look forward to hearing back from you on these
            questions and I thank you for your attention to my concerns.

            Sincerely,
            Dr. Frost

      26.   On January 21, 2019, Dr. Eells wrote:

            Dr. Frost,

            I am not aware of any process in the Redbook that has been triggered by
            this report. Nor am I aware of any steps required of you regarding a
            grievance or notice pursuant to the Redbook. You note that HR policy
            says that the Redbook applies, but I am not sure what you are referring to.

            Sincerely,
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               Tracy D. Eells, MBA, PhD
               Professor and Vice Provost for Faculty Affairs

       27.     On January 28, 2019, Defendant Kempf-Leonard sent a letter to Dr. Frost. A true

and accurate copy of the January 28, 2019 letter is attached as Exhibit 2 to the Amended

Complaint and its contents are incorporated by reference as if fully restated herein.

       28.     From July 7, 2018 through January 28, 2019, Dr. Frost managed his lab and

taught a full course in the Fall 2018. He was scheduled to and began to teach a course in the

Spring 2019. During that time, Dr. Frost received outstanding evaluations and a Faculty Favorite

nomination from students, and “Highly Proficient” and “Exceptional” merit evaluations from

faculty and the chair of his department. During the pre-tenure process and review, Dr. Frost

received the unanimous approval of his peers and defendant Dean Kempf-Leonard. No

complaints had been filed against Dr. Frost prior to the events giving rise to the above-captioned

lawsuit.

       29.     Section 4.5.3 of the Redbook, “Termination of Academic Employment Before

the End of a Specified Term or for Persons with Tenure,” states that “Termination of an

appointment with tenure, or of a special or probationary appointment before the end of the

specified term, may be effected by the institution for any of the following causes only if the

cause substantially impairs the effectiveness as a faculty member: (i) Incompetence; (ii) Neglect

of or refusal to perform one’s duty; (iii) Immoral conduct.”

       30.     As of the date of this Agreed Stipulation of Facts, Dr. Frost has not notified the

University Faculty Grievance Committee of his intention to appeal Defendant Kempf-Leonard’s

recommendation.




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                                      III. LEGAL STANDARD

       “The granting or denial of a preliminary injunction is within the sound judicial discretion

of the trial court.” Mason Cnty. Med. Ass’n v. Knebel, 563 F.2d 256, 261 (6th Cir. 1977) (citations

omitted). The Supreme Court and the Sixth Circuit have noted that “[t]he purpose of a preliminary

injunction is merely to preserve the relative positions of the parties until a trial on the merits can

be held.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981); Six Clinics Holding Corp., II v.

Cafcomp Sys., Inc., 119 F.3d 393, 400 (6th Cir. 1997). When considering whether to grant or deny

a preliminary injunction, a district court must consider and balance four factors:

       (1) the plaintiff[’s] likelihood of success on the merits; (2) whether the plaintiff may
       suffer irreparable harm absent the injunction; (3) whether granting the injunction
       will cause substantial harm to others; and (4) the impact of an injunction upon the
       public interest
Abney v. Amgen, Inc., 443 F.3d 540, 546 (6th Cir. 2006) (quoting Deja Vu of Nashville, Inc. v.

Metro. Gov’t of Nashville & Davidson Cnty., 274 F.3d 377, 400 (6th Cir. 2001)). The four factors

should be “balanced[,]” are “not prerequisites that must be satisfied[,]” and “are not meant to be

rigid and unbending requirements.” In re Eagle–Picher Indus., Inc., 963 F.2d 855, 859 (6th Cir.

1992) (citations omitted).

                                          IV. DISCUSSION

   The Court has closely scrutinized the joint stipulation of facts and the parties’ respective briefs,

and has concluded that a hearing is not necessary to properly adjudicate the motion for preliminary

injunction. Accordingly, the Court will now proceed to address whether Frost has carried his

burden of demonstrating that injunctive relief is warranted.

   A. Likelihood of Success on the Merits.

       Frost claims that his constitutional right to due process was violated because the

University’s officials neither gave him adequate notice of the charges leading to his termination,

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nor did the University afford an opportunity for a hearing with cross-examination prior to his

termination. To succeed on his due process claim, Frost must show that he has a property or liberty

interest in his job as a tenure-track professor and that Defendants failed to provide sufficient

process in depriving him of that interest.    Lane v. City of Pickerington, 588 F. App’x 456, 464

(6th Cir. 2014). Upon review of the legal precedent governing his claims, the Court finds that

Frost is likely to succeed on the merits of his due process claim based on his protected property

interest in his tenure-track appointment.

           i. Property Interest Claim

                   a. Whether Frost had a protected property interest in his tenure-track
                      appointment
       Frost first claims that he was deprived of a protected property interest without due process

when his tenure-track appointment was terminated. To have a protected property interest in his

tenure-track position, Frost “clearly must have more than an abstract need or desire for it. He must

have more than a unilateral expectation of it. He must, instead, have a legitimate claim of

entitlement to it.” Bd. of Regents v. Roth, 408 U.S. 564, 577 (1972). “A property interest can be

created by a state statute, a formal contract, or a contract implied from the circumstances.”

Singfield v. Akron Metro. Hous. Auth., 389 F.3d 555, 565 (6th Cir. 2004) (citations omitted).

Moreover, an agreement that an employee will be discharged only for cause can constitute a

property interest entitled to due process protection. Id. at 566.

       Frost’s offer letter states, “the conditions governing employment at the University of

Louisville are contained in the University’s governance document, the Redbook.” Joint Stipulation

of Facts, DN 19, at ¶ 2. The offer letter further provides:

       Your review for tenure will be no later than academic year 2020-2021, with tenure
       to be effective July 1, 2022. If your review during academic year 2020-2021 results
       in a decision not to grant tenure, your appointment for 2021-2022 would be
       terminal. Termination of your appointment prior to that time would be subject to

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         the provisions of the Redbook. The policies and procedures for all personnel
         reviews are specified in the Redbook and the College of Arts and Sciences
         Personnel Policy and Procedures.
Id. at ¶ 3.

         It is important to distinguish the two relevant employment actions contemplated by the

Redbook. Section 4.5.2, “Probationary Academic Appointments,” outlines the procedures for

when the University decides not to renew an appointment. DN 22-2, at 19–20. It requires “twelve

months [notice] before the expiration of the appointment” that an appointment is not to be renewed

for an employee with more than two years of service. Id. at 20. This provision does not require

cause for the non-renewal of a probationary appointment. The Redbook, however, contains a

separate provision governing the procedures for terminating employment before the end of the

appointment’s term. Section 4.5.3, “Termination of Academic Employment Before the End of a

Specified Term…,” does require cause in order for the University to terminate an appointment

before the end of the term:

         Termination of . . . a special or probationary appointment before the end of the
         specified term, may be effected by the institution for any of the following causes
         only if the cause substantially impairs effectiveness as a faculty member:
            A. Incompetence,
            B. Neglect of or refusal to perform one’s duty,
            C. Immoral conduct.
Id. at 20. Thus, the University could decide not to renew Frost’s tenure-track appointment without

cause under 4.5.2 provided that they give him the required twelve months’ notice. But the

University could only terminate Frost before the end of his term for cause pursuant to Section

4.5.3.

         Defendants argue that Frost has no protected property interest because his termination was

not effective until the end of his term. Defendants’ argument is an interesting one. On one hand,

Defendants acknowledge that “college professors and staff members dismissed during the terms


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of their contracts have interests in continued employment that are safeguarded by due process.”

DN 22, at 11 (quoting Silitonga v. Ky. State Univ., No. 3:16-cv-00029-GFVT, 2018 WL 3236055,

at *5 (E.D. Ky. June 30, 2018)) (emphasis in Defendants’ brief). Then, much like trying to fit a

square peg into a round hole, Defendants argue that Frost “was not dismissed during the term of

his probationary appointment.” DN 22, at 11 (emphasis in Defendants’ brief). To put it another

way, Defendants claim that they simply chose not to renew Frost’s appointment as afforded under

Section 4.5.2 of the Redbook. In support of their argument, Defendants point to the January 28,

2019 letter which recommends termination effective June 30, 2019 (the end date for Frost’s 2018-

2019 term). However, the letter also places Frost “on administrative leave with pay until May 31,

2019,” immediately relieves Frost “of [his] duties and responsibilities,” and bestows upon him the

status of “persona non gratis at the University.” Termination Letter, DN 21-18, at 2. Most notably,

the letter explicitly states the recommendation to terminate is made “pursuant to Section 4.5.3 of

the [] Redbook based upon your ‘neglect of or refusal to perform your duty and/or immoral

conduct’ which substantially impairs your effectiveness as a faculty member.” Id. We conclude

that Defendants unmistakably terminated Frost before the end of his 2018-2019 appointment term

pursuant to Section 4.5.3 of the Redbook.

       Defendants also suggest that Frost does not have a protectable property interest in

continued employment at the University, regardless of what method the University used, because

the Redbook provides a mechanism by which the University could decline to renew Frost’s

contract without cause. Defendants rely on Melendez v. Sinclair Community College, No. 3:05-

cv-338, 2007 WL 81846, at *1 (S.D. Ohio Jan. 8, 2007), and characterize it as “holding that a

tenure-track professor did not have a protected property interest in a successive employment




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contract where a faculty handbook provided for non-renewal of the contract without cause.” DN

22, at 10–11. To the contrary, Melendez is actually harmful to Defendants’ argument.

       In Melendez, the plaintiff was a tenure-track associate professor and his position was

subject to renewal on an annual basis. 2007 WL 81846, at *2. The plaintiff was employed

continuously for a total of seven academic years. Id. at *3. The faculty handbook explicitly

provided that contracts would not be renewed if the faculty member did not make tenure by the

end of their seventh contract year. Id. The plaintiff claimed that he had a protectable property

interest in one more year of employment (which would have been his eighth contractual year). Id.

at *6. The court disagreed, holding that the handbook made clear that his contract would not be

renewed if he failed to secure tenure. Id. At the same time, the court found that the plaintiff had

a property interest in employment for the year prior (his seventh contractual year). Id. at *7

(“Although Plaintiff had a property interest in his 2003-2004 contract, he had no such interest in a

2004-2005 contract”).

       Much like the plaintiff in Melendez, Frost was a tenure-track associate professor whose

employment was subject to renewal on an annual basis. But unlike the plaintiff in Melendez, Frost

had not yet reached the term that was subject to automatic non-renewal. Frost was employed

continuously for the academic years 2015-2016, 2016-2017, and 2017-2018. His employment was

renewed for the 2018-2019 academic year, but his employment was cut short when the University

terminated him pursuant to Section 4.5.3 of the Redbook. Once the University decided to renew

Frost’s tenure-track term for the 2018-2019 academic year, Frost’s property interest in that

continued employment vested and he could not be terminated prior to the completion of that term

but for cause pursuant to Section 4.5.3 of the Redbook. See Bd. of Regents v. Roth, 408 U.S. at

576–77 (“[C]ollege professors and staff members dismissed during the terms of their



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contracts…have interests in continued employment that are safeguarded by due process”); see also

Silitonga, 2018 WL 3236055, at *5–*6 (allowing tenure-track professor’s § 1983 due process

claims to proceed past summary judgment where university terminated her while she was under

contract).

       Even if the University chose not to renew Frost’s appointment pursuant to Section 4.5.2,

the Court finds that Frost has a property interest in his employment for the 2019-2020 academic

year because the University did not provide him with the requisite twelve months’ notice as

required by the Redbook. Section 4.5.2 of the Redbook plainly indicates that “[w]ritten notice that

a probationary appointment is not to be renewed shall be given” … “at least twelve months before

the expiration of the appointment.” DN 22-2, at 20. Based on the Redbook, the University’s

governing document, a professor with a probationary appointment has an expectation that his

appointment will be renewed unless the University informs him or her otherwise within the allotted

time. Accordingly, Frost’s interest to the 2019-2020 term vested when the University did not

notify him otherwise by June 30, 2018. The Court finds that a “mutually explicit understanding

that supports [Frost’s] claim of entitlement” to his 2018-2019 and 2019-2020 terms existed

between Frost and the University. Crosby v. Univ. of Ky., 863 F.3d 545, 552 (6th Cir. 2017)

(quoting Perry v. Sindermann, 408 U.S. 593, 601 (1972)) (cleaned up). Thus, we must next

determine whether Defendants provided sufficient process before depriving Frost of that protected

property interest.

                     b. Whether the University satisfied the due process requirements of the
                        Fourteenth Amendment
       In procedural due process claims, it is not the deprivation of the protected interest itself

that is unconstitutional; “what is unconstitutional is the deprivation of such an interest without due

process of law.” Zinermon v. Burch, 494 U.S. 113, 125 (1990) (emphasis in original). The amount


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of process due will vary according to the situation. Sharp v. Lindsey, 285 F.3d 479, 488 (6th Cir.

2002). There are two basic due process requirements: (1) notice and (2) an opportunity to be heard.

Flaim v. Med. College of Ohio, 418 F.3d 629, 634 (6th Cir. 2005). The Supreme Court has

described the “root requirement” of the Due Process Clause as being “that an individual be given

an opportunity for a hearing before he is deprived of any significant property interest.” Cleveland

Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985).

       In this case, Frost argues the University provided insufficient process in two ways. First,

Frost asserts that because the allegations involved competing narratives, Frost was entitled to

cross-examine his accuser and the University’s other witnesses. Second, Frost alleges he was

deprived of meaningful notice of the charges against him and the grounds for which he was

terminated.

       The Sixth Circuit has repeatedly recognized the importance of cross-examination in the

context of sexual misconduct allegations. In Doe v. Univ. of Cincinnati, the Sixth Circuit held

that, in a case that turns on credibility, cross-examination is “not only beneficial, but essential to

due process.” 872 F.3d 393, 402 (6th Cir. 2017) (quoting Flaim, 418 F.3d at 641) (internal

quotation marks omitted). Just last year, the Sixth Circuit resolutely reiterated that holding: “if a

public university has to choose between competing narratives to resolve a case, the university must

give the accused [] or his agent an opportunity to cross-examine the accuser and adverse witnesses

in the presence of a neutral fact-finder.” Doe v. Baum, 903 F.3d 575, 578 (6th Cir. 2018). See

also Smock v. Bd. of Regents of Univ. of Michigan, 353 F. Supp. 3d 651, 657 (E.D. Mich. 2018)

(applying Baum’s cross-examination requirement to a university professor’s hearing for alleged

misconduct); Kerber v. Wayne Cty. Employees Ret. Sys., No. 18-12049, 2019 WL 1354049, at *7

(E.D. Mich. Mar. 26, 2019) (applying Baum’s cross-examination requirement to an employee’s



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pension termination hearing where the decision-maker must choose between competing narratives

to resolve the case).

        Defendants maintain that Frost was not entitled to cross-examination and attempt to

distinguish Baum in two ways. First, Defendants claim the University took no formal action based

on the Case Summary Report or the finding that Frost violated the Sexual Harassment Policy. The

Court cannot agree. The termination letter explicitly states, as one of the grounds for dismissal,

the following: “Engaging in unwelcome, inappropriate physical conduct toward a student, which

resulted in the student’s departure from your class and/or lab.” Termination Letter, DN 21-18, at

2. Even if this Court were to entertain the fiction that the University took no direct action based

on the Case Summary Report, then the University’s notice of the charges against Frost would be

deficient.

        Next, Defendants assert that cross-examination was not necessary because there was no

competing narrative and, in fact, Frost “presented an account which was consistent with Doe’s.”

DN 22, at 18 (emphasis in original). Again, the Court cannot agree. The investigators concluded

that while Doe was ill and vomiting into a toilet, Frost held her hair back and rubbed the top of her

back. See Joint Stipulation of Facts, DN 19, at ¶ 9; Case Summary Report, DN 19-1, at 7.

However, investigators were unable to confirm that Frost touched Doe’s lower back, under her

shirt, or tugged on her belt loops as alleged by Doe. Case Summary Report, DN 19-1, at 7. They

were also unable to confirm that Frost attempted to sit in the same chair with Doe as alleged by

one of the witnesses interviewed. Id.

        This is the quintessential case of competing narratives that warrants cross-examination

under Baum. Cross-examination “is the greatest legal engine ever invented for uncovering the

truth.” Baum, 903 F.3d at 581 (internal quotation marks and citation omitted). It allows “the



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accused to identify inconsistencies in the other side’s story” and “gives the fact-finder an

opportunity to asses a witness’s demeanor and determine who can be trusted.” Id. “Without the

back-and-forth of adversarial questioning, the accused cannot probe the witness’s story to test her

memory, intelligence, or potential ulterior motives.” Id. at 582 (citing Univ. of Cincinnati, 872

F.3d at 402).

       This circuit has recognized, time and time again, the lasting impact on a student’s life of

being labeled a sex offender by a university. See Baum, 903 F.3d at 582; Doe v. Miami Univ., 882

F.3d 579, 600 (6th Cir. 2018). And the same holds true for professors who have been branded

with the stigma of touching a student inappropriately. A professor will surely face great challenges

in obtaining employment following his or her termination that is grounded, at least on part, on the

inappropriate touching of a student. Yet, the University decided Frost’s fate without allowing him

to question or probe Doe’s or any of the other witnesses’ stories.

       While the Court recognizes the University’s great interest in protecting its students and

enforcing its Sexual Harassment Policy, the University cannot disregard the constitutional rights

of its faculty members. If a professor with a protected interest is accused of misconduct, due

process requires the university to hold some sort of hearing before imposing a sanction as serious

as termination. And where the university’s determination turns on the credibility of the accuser,

the accused, or other witnesses, that hearing must also include an opportunity for cross-

examination. Baum, 903 F.3d at 581.

       The University also suggests that Frost could have used the University’s grievance process

as a satisfactory post-deprivation procedure. However, in the context of employment rights, due

process requires the opportunity for a hearing before the employee is deprived of any significant

property interest. See Lane, 588 F. App’x at 464.



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       Frost also claims that he was deprived of meaningful notice of the charges against him.

Due process requires that, prior to the termination of a faculty member with a property interest in

his employment, the university give oral or written notice of the charges against him, an

explanation of the university’s evidence, and an opportunity to present his or her side of the story

to the employer. See McDaniel v. Princeton City School Dist. Bd. of Educ., 45 F. App’x 354, 358

(6th Cir. 2002).

       Defendants contend that they provided Frost such process with respect to both the

allegations of sexual harassment and the termination of his appointment. As satisfactory notice,

Defendants point to Schroeder’s November 7, 2018 email that clarified that the complaint made

against Frost was “based on gender/sex” and contained allegations that: 1) Frost hosted a potluck

at his house in the summer in which students were invited; 2) alcohol was served; and 3)

inappropriate touching occurred. Defendants also assert they provided him “ample opportunity to

present his account,” stressing that during the interview of Frost on December 5, 2018, they

disclosed the complainant’s name and asked specific questions about the potluck based on Frost’s

responses. Yet, at the same time, Defendants contend that the University did not terminate Frost

based on the Case Summary Report or a violation of the Sexual Harassment Policy.

       The stronger the private interest, the more likely formal written notice is constitutionally

required. Flaim, 418 F.3d at 635 (citing Goss v. Lopez, 419 U.S. 565, 584 (1975)). A harsh

sanction, like termination, may require more formal procedures such as informing the accused of

the charge, the policies or regulations the accused is charged with violating, and a list of possible

penalties. Id. If the Court were to entertain the fiction that the University did not terminate Frost

pursuant to a violation of the Sexual Harassment Policy, Frost certainly wasn’t provided notice of

the policies or regulations that was he was charged with violating. Even without entertaining that



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fiction, the University’s notice was likely inadequate because it failed to provide notice prior to

his actual termination that Frost was being charged with “incompetence and/or neglect of and/or

refusal to perform your duty and/or immoral conduct, as contemplated by Section 4.5.3.”

Termination Letter, 21-18, at 2. This deprived Frost of the opportunity to present his side of the

story to his employer, as he was not made aware of the policies he was charged with violating until

his termination on January 28, 2019.

         Overall, given the University’s failure to provide Frost an opportunity for cross-

examination prior to his termination in direct contravention of Sixth Circuit precedent, or

meaningful notice to enable him to respond to the charges against him, the Court finds that Frost

has met his burden of showing substantial likelihood of success on the merits of his § 1983 claim

based on deprivation of a protected property interest without due process.1

              ii. Liberty Interest Claim

         Frost also contends that Defendants deprived him of his liberty interest in his good name

and reputation by disseminating the termination letter which included stigmatizing statements,

including that Frost engaged in “immoral” conduct, “inappropriate physical conduct toward a

student,” and declared Frost a “persona non gratis.”

         The Due Process Clause of the Fourteenth Amendment protects an individual’s liberty

interest in their “reputation, good name, honor, and integrity.” Quinn v. Shirey, 293 F.3d 315, 319

(6th Cir. 2002) (internal quotation marks and citation omitted). The Sixth Circuit has established



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  Frost also claims he has a property interest in his position as an advisor to students and operator of his research lab,
both of which are necessary to his scholarship and standing in the academic community. In support of this argument,
Frost relies on the plaintiff’s theory as approved by the Sixth Circuit in Yashon v. Gregory, 737 F.2d 547, 555 (6th
Cir. 1984) (explaining approvingly that plaintiff’s theory was “simply [] that he and other attending medical staff
members relied upon an understanding with the defendants that tenured faculty status and hospital privileges would
be linked”). In light of the Court’s finding that Frost is likely to succeed on the merits of his due process claim based
on his property interest in his tenure-track appointment, the Court declines to address this additional argument at this
juncture.

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five factors that a plaintiff must show in order to establish that he was deprived of a liberty interest

and entitled to a name-clearing hearing:

        First, the stigmatizing statements must be made in conjunction with the plaintiff’s
        termination from employment.... Second, a plaintiff is not deprived of his liberty
        interest when the employer has alleged merely improper or inadequate
        performance, incompetence, neglect of duty or malfeasance.... Third, the
        stigmatizing statements or charges must be made public. Fourth, the plaintiff must
        claim that the charges made against him were false. Lastly, the public
        dissemination must have been voluntary.
Id. at 320 (quoting Brown v. City of Niota, 214 F.3d 718, 722–23 (6th Cir. 2000)). “Once a plaintiff

has established the existence of all five elements, he is entitled to a name-clearing hearing if he

requests one.” Id. (internal quotation marks and citation omitted).

        However, the Sixth Circuit has made clear that, because it is the denial of the name-clearing

hearing that causes the deprivation of the liberty interest without due process, a plaintiff must

request a name-clearing hearing prior to bringing suit. Id. at 320–21. See also Helm v. Eells, 642

F. App’x 558, 566 (6th Cir. 2016) (professor’s failure to request a name-clearing hearing is fatal

to his liberty interest claim); Brown v. City of Niota, 214 F.3d at 723 (rejecting plaintiffs’ liberty

interest claims because, although the plaintiffs clearly had requested a name-clearing hearing, the

request had not been denied before they filed suit); Ludwig v. Bd. of Trustees of Ferris State Univ.,

123 F.3d 404, 410–11 (6th Cir. 1997) (affirming dismissal of plaintiff’s liberty interest claim on

the grounds that plaintiff’s failure to request a name-clearing hearing was fatal to his claim).

        Nowhere does Frost allege that he has requested a name-clearing hearing. Since failure to

request a name-clearing hearing is fatal to a liberty interest claim, Frost is unlikely to succeed on

the merits of his liberty interest claim.

    B. Irreparable Harm.

        The next factor Frost must show is whether, absent the preliminary injunction, he will

suffer some irreparable injury. When a plaintiff demonstrates a likelihood of success on the merits

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of a constitutional deprivation claim, it follows that he or she will suffer irreparable injury absent

injunctive relief. See Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012) (“When

constitutional rights are threatened or impaired, irreparable injury is presumed.”); Overstreet v.

Lexington–Fayette Urban Cnty. Gov’t, 305 F.3d 566, 578 (6th Cir. 2002) (“Courts have also held

that a plaintiff can demonstrate that a denial of an injunction will cause irreparable harm if the

claim is based upon a violation of the plaintiff’s constitutional rights.”); Miller v. Davis, 123 F.

Supp. 3d 924, 937 (E.D. Ky. 2015) (“[T]he denial of constitutional rights, enumerated or

unenumerated, results in irreparable harm”).

       In addition to finding a violation of a constitutional right constitutes irreparable harm, the

Court agrees with Frost that monetary damages cannot compensate the loss of Frost’s standing in

the academic community. See generally Doe v. Univ. of Cincinnati, 872 F.3d at 407 (noting that

without the injunction student would be suspended for a year and suffer reputation harm both on

and off campus based on a finding rendered without due process). Therefore, the Court finds that

Frost has demonstrated that he will suffer irreparable injury if an injunction does not issue.

   C. Irreparable Harm to Others and Public Interest

       The final factor the Court must consider is whether issuance of the injunction would cause

irreparable injury to others and whether an interest would serve the public interest. Defendants

argue that the public interest would suffer if an injunction were to issue because the University has

an interest in enforcing its Sexual Harassment Policy and the tenets of the Redbook to ensure the

policies are followed consistently. Defendants argue that reinstating Frost would send the message

that the University condones unwelcomed and unwanted behaviors and endorses faculty members

drinking with students.




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        As discussed previously, the Court is mindful of the University’s interest in enforcing its

Sexual Harassment Policy. But an injunction does not mean the University must abandon its

policies and cannot investigate complaints of sexual harassment. The Sixth Circuit has held that

a university bears a “minimum burden” by allowing cross-examination where competing

narratives exist in a charge of sexual harassment. Baum, 903 F.3d at 582. Moreover, “it is always

in the public’s interest to prevent a violation of an individual’s constitutional rights.” Doe v. Univ.

of Cincinnati, 872 F.3d at 407. At most, this factor is neutral.

    D. Permanent Injunction

        In addition to requesting a preliminary injunction, Frost also requests a permanent

injunction against Defendants. Federal Rule of Civil Procedure 65 permits a court to consolidate

its consideration of a preliminary injunction with the merits. The Court, however, declines to rule

on Frost’s motion for a permanent injunction at this stage. Therefore, Frost’s motion to the extent

is seeks a permanent injunction will be DENIED WITHOUT PREJUDICE.

                                          V. CONCLUSION

        Upon careful consideration of the entire record in this case to date, and for all of the reasons

stated herein, the Court finds that Frost has met his burden of demonstrating that he is entitled to

preliminary injunctive relief, that he should be fully reinstated to his tenure-track position, and that

he is highly likely to succeed on the merits of this case. The Court will issue an injunction as it

sees necessary to preserve the status quo of the parties. See Univ. of Texas, 451 U.S. at 395 (“The

purpose of a preliminary injunction is merely to preserve the relative positions of the parties until

a trial on the merits can be held.”).

        A separate order will be entered in accordance with this opinion.


                                        May 29, 2019

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